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                            UNITED STATES JUDICIAL PANEL
                                         on
                              MULTIDISTRICT LITIGATION


IN RE: THE GAP, INC., COVID-19
LEASE PAYMENT LITIGATION                                                             MDL No. 2960



                                ORDER DENYING TRANSFER


        Before the Panel: Tenant movants The Gap, Inc., Old Navy, LLC, Banana Republic, LLC,
and Athleta, LLC (together, Gap), move under 28 U.S.C. § 1407 to centralize pretrial proceedings
in this litigation in the Northern District of California or, alternatively, the Eastern District of
Michigan. The motion encompasses seven actions pending in five districts, as listed on Schedule
A.1

        All responding landlord parties oppose centralization. The responding Michigan landlord
plaintiffs alternatively request exclusion if an MDL is formed outside the Eastern District of
Michigan. Landlord defendant in the Southern District of New York Gap declaratory judgment
action alternatively requests exclusion of its action from centralized proceedings or suggests
centralization in the Eastern District or Southern District of New York. Landlord plaintiff in the
potential tag-along action pending in the District of District of Columbia alternatively suggests
centralization in the District of District of Columbia or the Eastern District or Southern District of
New York.

        On the basis of the papers filed and hearing session held,2 we conclude that centralization is
not necessary for the convenience of the parties and witnesses or to further the just and efficient
conduct of the litigation. These actions involve some factual overlap concerning Gap’s decision not
to pay rent on its retail leases nationwide on grounds that the business disruption caused by the
COVID-19 pandemic frustrated the essential purposes of each of its leases and excused Gap from


       1
                Gap’s motion included 26 additional actions pending in eleven districts, but those
actions have either been remanded to state court or voluntarily dismissed. Gap represents that the
remaining Northern District of Ohio action included in Schedule A has been settled, but the docket
sheet in this action shows it remains pending.

       The Panel has been notified of eight potentially-related actions pending in seven districts.
One of these cases has been voluntarily dismissed.
       2
               In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
heard oral argument by videoconference at its hearing session of September 24, 2020. See Suppl.
Notice of Hearing Session, MDL No. 2960 (J.P.M.L. Sept. 8, 2020), ECF No. 53.
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its obligation to pay rent. Gap argues that there will be common fact and expert discovery
concerning, inter alia, the foreseeability of the pandemic, whether Gap assumed the risk of a
pandemic in the leases at issue, custom and practice in the industry on both assumption of risk and
foreseeability, the effects of the pandemic on safety and in-person retail shopping, and potential
safety measures that retailers may or must employ. Opponents of centralization argue, inter alia, that
(1) there are no relevant, disputed, common factual questions; (2) to the extent there are any common
factual questions, they are overwhelmed by individual factual questions in these actions, which will
involve different leases, landlords, properties, and shelter-in-place orders; (3) these are simple
landlord/tenant disputes and any common questions of fact are not sufficiently complex to warrant
centralization; and (4) several landlords have sought rulings on early summary judgment motions,
without the need for discovery.

        We agree with opponents that centralization is not necessary or appropriate here. Gap may
be correct that these actions will involve some overlapping factual questions and discovery. But the
overlap appears to be limited and overshadowed by the many individual questions in each action
relating to the unique properties, leases, and negotiating parties at issue. We are not persuaded that
centralized proceedings here will serve the convenience of the parties and witnesses— particularly
the various landlords.

        We also find the recent procedural history of the litigation indicates that centralization “might
hinder the orderly and efficient resolution of these cases.” In re JumpSport ,Inc., (‘845 & ‘207)
Patent Litig., 338 F. Supp. 3d 1356, 1357 (J.P.M.L. 2018). Since Gap filed its motion for
centralization, which included 33 actions, 26 of them have been remanded or settled and dismissed.
And Gap represents that another action has settled. In the weeks since Gap filed its Section 1407
motion, sixteen actions—almost half of those originally included in the centralization motion—have
settled. The earliest actions were filed just six months ago. Thus, these actions have not “required
significant judicial attention,” and we find that centralization would not promote the just and
efficient conduct of the litigation. In re ArrivalStar S.A. Fleet Mgmt. Sys. Patent Litig., 802 F. Supp.
2d 1378, 1379 (J.P.M.L.2011).

        Gap argues that additional similar actions are likely to be filed because unresolved rental
disputes are pending as to approximately 2,000 leases. But the Panel currently is presented with just
seven potential tag-along actions for (according to Gap) a total of thirteen actions, and the Panel is
“disinclined to take into account the mere possibility of future filings in our centralization calculus.”
In re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prods. Liab. Litig., 959 F. Supp. 2d
1375, 1376 (J.P.M.L. 2013). Moreover, it is unclear how many similar actions already have been
filed or will be filed in state court. Indeed, of the 33 actions included in Gap’s motion for
centralization, eleven have been remanded to state court. Finally, given the trend of quick
settlements, it may be that most of these rental disputes are resolved before a lawsuit is filed.

       For the actions remaining, it appears that alternatives to centralization—such as informal
coordination of any common depositions—can minimize any overlap in pretrial proceedings. It does
not appear the parties attempted any informal means of coordination before Gap filed its Section
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1407 motion. Parties should make such an attempt before resorting to Panel intervention. See, e.g.,
In re Gerber Probiotic Prods. Mktg. & Sales Practices Litig., 899 F. Supp. 2d 1378, 1379
(J.P.M.L. 2012) (centralization “should be the last solution after considered review of all other
options.”) (citation omitted).

       IT IS THEREFORE ORDERED that the motion for centralization of these actions is denied.




                                      PANEL ON MULTIDISTRICT LITIGATION




                                                      Karen K. Caldwell
                                                            Chair

                                      Ellen Segal Huvelle           R. David Proctor
                                      Catherine D. Perry            Nathaniel M. Gorton
                                      Matthew F. Kennelly           David C. Norton
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IN RE: THE GAP, INC., COVID-19
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                                       SCHEDULE A


           Eastern District of Michigan

     EQUITY ALLIANCE OF CANTON DEVELOPER PARCEL, LLC v. OLD NAVY,
          LLC, C.A. No. 2:20-11683
     GRAND/SAKWA NEW HOLLAND SHOPPING CENTER, LLC v. OLD NAVY, LLC,
          C.A. No. 2:20-11686

           Western District of Michigan

     JADE PIG VENTURES – EGR, LLC v. ATHLETA LLC, C.A. No. 1:20-00664

           Southern District of New York

     48TH AMERICAS LLC v. THE GAP, INC., C.A. No. 1:20-03471
     THE GAP, INC. v. PONTE GADEA NEW YORK LLC, C.A. No. 1:20-04541

           Northern District of Ohio

     FIRST INTERSTATE AVON, LTD. v. OLD NAVY, LLC, C.A. No. 1:20-01354

           District of Vermont

     KLEBAN BATTENKILL, LLC v. THE GAP, INC., C.A. No. 5:20-00086
